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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                            Susan Prose, United States Magistrate Judge

  Civil Action No. 23-cv-02089-LTB-SBP

  DENNIS SLADEK,

          Plaintiff,

  v.

  DONALD J. TRUMP,

          Defendant.


              RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE


          This matter comes before the Court on the Amended Complaint (ECF No. 6) 1

  filed pro se by Plaintiff, Dennis Sladek, on September 8, 2023. The matter has been

  referred to this Magistrate Judge for recommendation (ECF No. 9). 2




  1 “(ECF No. 6)” is an example of the convention the Court uses to identify the docket number assigned to

  a specific paper by the Court’s case management and electronic case filing system (CM/ECF). The Court
  uses this convention throughout this Recommendation.

  2 Be advised that all parties shall have fourteen (14) days after service hereof to serve and file any written

  objections in order to obtain reconsideration by the District Judge to whom this case is assigned. Fed. R.
  Civ. P. 72(b). The party filing objections must specifically identify those findings or recommendations to
  which the objections are being made. The District Court need not consider frivolous, conclusive or
  general objections. A party’s failure to file such written objections to proposed findings and
  recommendations contained in this report may bar the party from a de novo determination by the District
  Judge of the proposed findings and recommendations. United States v. Raddatz, 447 U.S. 667, 676-83
  (1980); 28 U.S.C. § 636(b)(1). Additionally, the failure to file written objections to the proposed findings
  and recommendations within fourteen (14) days after being served with a copy may bar the aggrieved
  party from appealing the factual findings and legal conclusions of the Magistrate Judge that are accepted
  or adopted by the District Court. Thomas v. Arn, 474 U.S. 140, 155 (1985); Moore v. United States, 950
  F.2d 656, 659 (10th Cir. 1991).
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         The Court must construe the Amended Complaint liberally because Mr. Sladek is

  not represented by an attorney. See Haines v. Kerner, 404 U.S. 519, 520-21 (1972);

  Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991). However, the Court should not

  be an advocate for a pro se litigant. See Hall, 935 F.2d at 1110.

         The Court has reviewed the filings to date. The Court has considered the entire

  case file, the applicable law, and is sufficiently advised in the premises. It is respectfully

  recommended that the Amended Complaint be dismissed.

                                        I. DISCUSSION

         Mr. Sladek asserts one claim pursuant to 28 U.S.C. § 1331 contending that

  Defendant, former President Donald J. Trump, is ineligible to serve as President of the

  United States under Section 3 of the Fourteenth Amendment to the United States

  Constitution. In relevant part, that section bars from serving in the government any

  person who swore an “oath . . . to support the Constitution of the United States” as a

  federal officer and then “engaged in insurrection or rebellion against the same, or [gave]

  aid or comfort to the enemies thereof,” unless Congress “remove[s] such disability” by a

  two-thirds vote. U.S. Const. amend. XIV, § 3. Mr. Sladek asserts that Section 3 applies

  to former President Trump based on former President Trump’s actions relevant to the

  events that transpired at the United States Capitol on January 6, 2021. As relief Mr.

  Sladek seeks an order “removing Defendant Trump from any ballots for President of the

  United States and from serving in the United States government or in the future from

  any ballots of the United States government in any state.” (ECF No. 6 at p.3.)

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         The United States Constitution limits the judicial power of federal courts to

  resolving “Cases” and “Controversies.” U.S. Const. art. III, § 2. “Standing to sue is a

  doctrine rooted in the traditional understanding of a case or controversy.” Spokeo, Inc.

  v. Robins, 578 U.S. 330, 338 (2016). To establish standing to sue, a plaintiff must show

  he has “suffered an injury in fact,” the injury is “fairly traceable” to the defendant’s

  actions, and a favorable judicial decision will likely redress the harm. Id. Each of these

  three elements is an “irreducible constitutional minimum” for standing to sue. Lujan v.

  Defs. of Wildlife, 504 U.S. 555, 560 (1992). Mr. Sladek bears the burden of establishing

  each element. See Spokeo, 578 U.S. at 338.

         To establish injury in fact, Mr. Sladek must show, in part, that he suffered a

  concrete and particularized invasion of a legally protected interest. See id. An injury that

  is particularized “must affect the plaintiff in a personal and individual way.” Id. at 339.

  Additionally, “when the asserted harm is a ‘generalized grievance’ shared in

  substantially equal measure by all or a large class of citizens, that harm alone normally

  does not warrant exercise of jurisdiction.” Warth v. Seldin, 422 U.S. 490, 499 (1975).

         Mr. Sladek’s challenge to former President Trump’s eligibility under Section 3 of

  the Fourteenth Amendment does not demonstrate he has suffered or will suffer a

  concrete and particularized injury. Instead, he alleges only a generalized grievance that

  is shared by the public as a whole. As a result, Mr. Sladek lacks standing to sue and the

  Complaint should be dismissed for lack of jurisdiction. See Stencil v. Johnson, 605 F.

  Supp. 3d 1109, 1115-19 (E.D. Wis. 2022) (finding plaintiff lacked standing in Section 3

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  disqualification suit against U.S. Senator Ron Johnson and U.S. Representatives

  Thomas Tiffany and Scott Fitzgerald); New Mexico ex rel. White v. Griffin, 604 F. Supp.

  3d 1143, 1146-50 (D.N.M. 2022) (finding plaintiff lacked standing in Section 3

  disqualification suit against Otero County Commissioner Couy Griffin); Hill v. Mastriano,

  No. 22-2464, 2022 WL 16707073, at *1 (3d Cir. Nov. 4, 2022) (per curiam) (finding the

  plaintiff lacked standing in Section 3 disqualification suit against gubernatorial candidate

  and state legislator Doug Mastriano); see also Berg v. Obama, 586 F.3d 234, 239-42

  (3d Cir. 2009) (finding that plaintiff challenging former President Barack Obama’s

  eligibility to run for and serve as President of the United States was properly dismissed

  for lack of standing); Robinson v. Bowen, 567 F. Supp.2d 1144, 1146 (N.D. Cal. 2008)

  (same, presidential candidate John McCain); Hollander v. McCain, 566 F. Supp.2d 63,

  71 (D.N.H. 2008) (same).

                                   II. RECOMMENDATION

         For the reasons set forth herein, it is respectfully

         RECOMMENDED that the Amended Complaint (ECF No. 6) and the action be

  dismissed without prejudice for lack of jurisdiction.




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        DATED September 20, 2023.

                                           BY THE COURT:




                                           Susan Prose
                                           United States Magistrate Judge




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